                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
       vs.                                       )   No. 19-03028-01/02/06-CR-S-MDH
                                                 )
CHRISTINA E. GAUGER et. al.,                     )
                                                 )
                       Defendant.                )

                                             ORDER

       Counsel for Defendant Piatcheck has filed a motion for continuance of the May 6, 2019,

trial setting in the above-captioned case.

       In any case in which a plea of not guilty is entered, the defendant’s trial shall commence

within 70 days from the filing of the information or indictment or the date of defendant’s first

appearance, whichever comes last. 18 U.S.C. § 3161(c)(1)(Speedy Trial Act). However, in

computing the time within which trial of any offense must commence, any period of delay which

results from a continuance granted by a judge at the request of defendant or his or her counsel,

which serves the ends of justice, shall be excluded from computing the time. 18 U.S.C. §

3161(h)(7)(A)(B). The Speedy Trial Act requires that the Court set forth its reasons for finding

that the ends of justice served by the granting of such continuance outweigh the best interests of

the public and the defendant in a speedy trial. Factors which this Court shall consider in

determining whether to grant a continuance include whether the failure to grant such a continuance

would be likely to result in a miscarriage of justice and deny reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.

       Counsel for Defendant states that Defendant was arraigned on March 22 and additional

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time is needed to receive and review the discovery with the Defendant. Failure to grant the

continuance would deny counsel for the defendant the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. The Court finds that the ends of

justice served by granting a continuance outweigh the best interest of the public and the defendant

in a speedy trial. The motion for continuance of the May 6, 2019, trial setting will be granted, and

the case will be reset for jury trial on the Joint Criminal Docket which commences on September

23, 2019.

        All defendants are charged in Count One with conspiracy. In granting the motion for

continuance, there is no violation of the rights of the co-defendants to a speedy trial. United States

v. Thomas, 774 F.2d 807 (7th Cir. 1985). It is

        ORDERED that the defendant’s motion for continuance of the May 6, 2019, trial setting

is granted; and it is further

        ORDERED the above-captioned case is reset for jury trial on the Joint Criminal Trial

Docket which commences on September 23, 2019, at 9:00 a.m.;

        ORDERED that the pretrial conference set in this matter on April 9, 2019, is hereby,

cancelled; and it is further

        ORDERED that the additional period of delay in commencing defendant’s trial caused by

this continuance shall be excluded in computing the time within which this trial shall commence

under the Speedy Trial Act.

                                               /s/ David P. Rush
                                               DAVID P. RUSH,
                                               UNITED STATES MAGISTRATE JUDGE
Date: March 25, 2019



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